 

UNETED § STATES DISTRICT | COURT | i
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UNITED STATES OF AMERICA,

)
) _ a.
Plaintiff - Respondent, i) USDC Case. No: at +!
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)

 

Kevin Sn
United States District Judge

 

 

RO SE MOTION FOR MODIFICATION OF SENUTACE |
PURSUANT TO 18 U.S.C. §3582(0)(2)

 

 

(Retroactive Ciuideline Amendment 7182)

I hereby’ respectfully request @ modification | or reduction ‘of my sentence
pursuant to 18 US CG. §3582(c)(2) and the new guideline amendment 782 to the United
States Sentencing Guidelines, which make a reduction in the base offense level for
most drug offenses retroactive as of November 1, 2014.

In support of my motion, t state as follows: .

Tam currently | serving a federal term of imprisonment.

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; ; Ver S

a My sentence was ‘based, at least in part on drugs __ (Yes/No)

3. Twas sentenced in the _ 4 OELE District of _ /EA/AE SSEE _byd udge
NH. SHARP on BIL? _ @ate) toatermof_/Yo od. mouths in

 

prison. My total o Hense level was BF and my criminal history category was bs

 

A. My projected release date is

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sa '

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©. Thereby request a court appointed attorney VES (Yes/No) and permission

to proceed in forma pauperis.

Sic was cy f - ff & ZZE /,
Signature of Petitioner ---Z/¢/Gae.. 9 77 ys

 

Print or Typed Name: Willi Ao. WC Gi4ice Reg. No. abt 19-6 225

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ae oopeid United States eMail the Offica of the U.S. Attorney for the “Alipple

Wis trict of TENVE ESS, i x

 

this _(. day of MAY _

+ 2018.

 

Signature? ve. Le Me LOL fo gtr Lo Cs

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